                 CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 1 of 27
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         CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 2 of 27




in this action or otherwise relating to your'imprisonment in the last three years?
    / Yes
    Ei No
B. If you answer to (a) is "yes", describe each lawsuit in the space below.

        1. Parties to the previous lawsuit:

                 Plaintiffs:   flt n c\^el    Rsnneo 6er.^c(



                 Defendants: NeA 6 wo\lrr.lor., y^,trA Stqles       of   Ar*erioor



        2. Cotxt (If federal court, namb the district. If state court, name the state and county.):

                D r:!rrc.t        of l\t"""as..lc'
        3.   Case   Number:    A'. lO - e v' 0eb6l-Ph$'e'c6t
                           Appe^l xro. )l-cJ     nqb usc4 &lhc'..'
        4. Name ofjudge assigned to the case: f'\ 45nso^

       5. Cause of action (Cite the statute under which you filed and write a brief statement of
the case): !.8vsc]191 to\e^r Co.pi,ni, Dvc protcsr:1:t]'^ oefc^l*lr itcvrrc^icrlevr5)rlc6frf@qp
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        6. Disposition or final determination of the case (for example, dismissed or appealed).
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           Approximate date of filing the.lawsuit:
                    h tlelr^Pt f" R t""t o* l3'L4Ol0,Jerar. \ r.rrl u,trlla-^, 64q1cvdl by(oq^| l?-lE-a.o-ro
        8. Approximate date of disposition or final determination of the lawsuit:r-
                                                                                        lg_^aal

t**Attach    a copy of the disposition orfinal detennination of the lawsuit if it was filed in   a   court
other than the U.S. District Cotut for the District of Minnesota.***
                CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 3 of 27


   Ff   o',v   L
             You begr", o{\c" \avrrv*r on }t^te- sr{e-t}<ro.\ dr,a.\f^1 r/ r}n J^€ So.ls
in this action or otherwise relating to your imprisonment in the last three years?
    I   Yes

    DNo
B. If you answer to (a) is "yes", describe each lawsuit in the space below.

               l.   Parties to the previous.lawsuit:

                         Plaintiffs:   [Y1   r   <-hor'\   Ronneo   6c(   o,c't




                         Defendants: fwc-$.          6,\nlotlr*un qa2\            Vtr\(no.orn   5t'\<.5


           2. Court (If federal court, name the district. If state court, name the state and county.):
                        DiSt.irl-                 oQ fnrnn e-sotr

           3.       Case   Number:      O)-e..| -UDl


           4. Name ofjudge assigned to the case:

       5. Cause of action (Cite the statute under which you filed and write a brief statement of
the case): ,.le vS C I gB3, civil R;gh+, viol'.tto-", A"' ( YooVe' (^, tP ee191c< l\y ts loc\ci,9
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       6. Disposition or final determination of the case (for example, dismissed or appealed).
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           7' Approximate          tTjlti:to1!l*"it:                      ganoqidd@
           8. Approximate date of disposition or final determination of the lawsuit:

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{<t'*Attach a copf of the disposition or final determination of the lawsuit if it was filed in a court
other than the U.S. District Court for the District of Minnesota.*x*




                                                                     z
              CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 4 of 27




'If there was more than one lawsuit, describe the additional lawsuits on a separate sheet of
 paper answering the same questions in the sarhe order as above in Question 1(b). Label
 this information as Question 1(b).
 Check here if additional sheets of paper are attach ed. E

II. PRESENT PLACE OF CONFINEMENT

A. Is there a prisoner grievance procedure in the institution?

          {    Yes

          trNo
B. Did you present the facts relating to your complaint in the prisoner grievance procedure?

               { Y"t
               trNo
C. If you answered "yes" to question II.B.:
     1' what stens d;d.{* ltk:; f,J l') Gr'"v                    s'"c *o
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     2.   What was the result?   a   p r'nrt   .   a'i,..cA a,^.y . eiPo^ges


   ***Attach a copy of the decision or disposition received from the prisoner grievance
procedure.****

D. If you answered "no" to question II.B., explain why you did not present the facts relating to
your complaint in a prisoner grievance procedure.




III. PARTIES

List your name, prisoner number, address and telephone number. Do the same for any additional
plaintiffs. Attach an additional sheet of paper, if necessary.

A.        Name of    Plaintiff: M r chae-[ Ro{neo 6e_c.,cf

          PrisonerNumber | (tLl      a+o\1
          Address Renvrtlc Co,l^*;5,.i\, lotl          Sa,.rtt^ Lll:a   streA, ol.vrL /v\N/5a31?



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                 CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 5 of 27

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               CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 6 of 27




            Additional    P   laintiffs   :




Provide each defendant's full name, official position, and place of employment. Attach
additional sheets of paper, if necessary.

B.          Name: AShley
                              Sy [<o.x , Volv^teers of Ar"'"tie^ R"\c,
                                                  $a'i-r
            Official Position: P"o5r"nn fr)raa5€ r lniriui du^)\y c^p^.yfy
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            Employer's Address:               l'T1l       1Ce..l           slre.t Rolcvillc-          a,N Ssrr3
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            Additional Defendants: 5oS ua                      G       ocvetvaicrc, o€ A r'r..i..^ RA(
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NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
PROVIDE TIIEIR NAMES AND ADDRESSES ON A SEPARATE SHEET OF PAPER.
Check here if additional sheets of paper are attach ed,: fi
Please label the attached sheets of paper as II.A. for Plaintiffs and II.B. for Defendants.


IV. STATEMENT OF THE CLAIM

Describe in the space provided below the basic facts of your claim. Describe how each
individual defendant is personally involved, including dates, places and specific wrongful acts or
omissions by each defendant. Each factual allegation should be provided in separately lettered
paragraphs, beginning with letter A. Do not make any legal arguments or cite any cases or
statutes.



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                   CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 9 of 27

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                 CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 11 of 27

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 ,    G   re     €scapeJ      or #herwrse ake".i fro- crs{.dl *re- U&C will ; rtl co^tl.c-f ^
      revie./ i n yovt' dtse..Ze.                           n\4,   l.lri^ vt I'ert-              a        | .S   i    co..&^nl   -    -TAe
                                  ^                                                                  ^.
     V0L nv!t             doc,-,rnc.^*   rlr    fCa                       !-" d   ;rs l".nc^lc   ,Pno r,^        /xo he^r ti,, ,,.
                                                                   , 5rl l,l (d)6 ) v,,+ Ns",ph ^.c e5o6i.faa

      4lJo 4Lg           GL sf {e& | Aarrl.}i"^, whitl., wrt his of{i.i.l Dt,                                             os.o..^;{1".
      c\0.[- ol *t-.o UOc l-eari                           a *olA h;," ir.at a li *r.;                                 sall:aJldr+.-I
     sY     -d{e f f113}!y'.rno^}.'{             cf8op         Stc.Pf eee          -   w^l ol[er"J crr.rr+                       ,,   os+^f,
     f   \qJ Dusr'i| la^ow Fg.p                           or
                                                 ^1,.v



 d   h', c [.,   is *t   ..
 fese/l.J g(v"\V.Sr,t- orsq.|,)+r rStu,\)i^5 i^ k,rF|.F2-.+ie*(,, *t-o/c                         ir etr,,.c"+J- +^4\a o8a^[
 b4i hq @1.l*toryrl.{r.-"f                            ,--rr._o_u^"{Jr.*           lte wur 0,, I f"- Btood .. T hJ

                 'Fr/r"                                                                                              ,lQr l(qncJ t\v.




b*fo>vo)nr.i^lJs,un
                                                        rrr, n^J    lI.                          rilr.*.uir ot ^ loda.glt^-


W^S      v^dvrl-oFBop                                     vjpo,
                                   Aul"s       n^)^o+                  Defrnd*nl          z,os"   6nr"{n             i,   n..t^,.r"o
                                                  Itol
                     CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 12 of 27

           elf .l\.    Vo\v,,ten.,.<of A/v,ezise, IAN/WT C*juu.;l(c                   2€c wLl"h i.( Lrc.'.r".I +o operc^+e

       ,   t.4&r f \e-            ADinn   e-sJ.. Def ^'*a.e nf af eorrrc{,i-r,                   } h.,r r', ovft \rr ..r+\o.l+y          u,^o&r-


           )\c    co\.,.    ol 5+.^|"...,,|\oi*/           *1r,.,   tu.a Vba \*t ,.t'f<.lcro.\ co"*Y.^.-f"*,\orpfe&r^\
       .,tnrxq}tor    lhri f,*e.al!o t^nP^vJtj^r.c*i".ir..                         n^-9   t^ *t.a g.ire L^Ja'*t{-colo".         ofFeJo/"1

   . l^*' H'               ls   6',   W    oF-e,infiri? io &b4rl$L.ir"t
                                                                                     ""*^.^+-;i.^. :|- \bcnr.-no+"j-
                                                                                                 A


   .       nny 1,i",/1,'^..y          Pr"<c.J,ig,      ,   h,th r^.^*- \qA ,hy\)ltLc"+yzJ:,1r,?FJ r,^J^.y 6edJl,;:a
   -------t/_                                          l-le- L..,.r Vtolo

           ?r-gtJ'n^l d.re Pr"c"tJ                ri   h



                                                                          ".ol l-,r^l/t"

           L..^s
                   Vlol^I4 rui            P4 L   An",J,nnd          nr   slqtn"l   \' "+ arct qirs *\c.o\!c-ero,4):i"Vi^
   ,a^c\ tLe csh...pr..^.y tr,V\-,f \cr. {tIt^Ao,",,tr                        a]tl.c      V0,4 re\^],.^?      Jf\. pot;*.+J..   o.^*co,,.,
  up of, De$cJ*nk fe\,.d^ gorcz Fo(gd \i..vrn'
 .--..--_----r-                                                                     sg!J..   .    n",   fLa FcL^r a+n.,,. io,tr.r*   t    _



  pelt^A^n!            Ghrcfc,r ir      6^,',b *r?Ol5u,,,,r.,,h"rxtnf o^d P,og,\\y :tss,-L gdc.^, Ac$"A;*+"_
' f8oP 0u)"cy s.S QfQ ln.rst tu .o j.,'l,fi"Jj=ljr,4.                                 r^t.tp' \ol"t      .. U nc .o^,*i+ c.fA.r
 t.         rwc.,t    lt-'.+ *he- *wo oojeriet ytolq+6"r ,..o sl.",ll                                    ^"r^o,ave^ he-l$ . uoc
  bvt            cin"ety        reFcrr.Ith" wkole +hig..to+t-a OHo se- AS cfes.{f                                           7(-?)_*_
  -l   L +r c\eq                \c| :f"s*a @arci^ "
                           "f                                                                                             4S.,".\ lo'


 c,        0,. ll/tq
             CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 13 of 27

       Rup    i$ Srof Bce"A^140.* tt.l,.. c.\st\..r   i..cli'i.1,v.".\   *c,lu^\\y    e/l.plo"yoA   w.t\ *lc-f0trf,

  .   becn,lse-   lxc- of.Fer of VoA s|^ff,or RcT sl^9f                     as o      s*"ff ref       wr.\'.,..(he.f,,{.

      NJLitL.r VoAsi0^9$orRc*t S+*f$ 6^re.gR/'"ili.^r u,ilh fQg.ppoticy no'r eedr-oFSeder.l

      reg'-\q\Jo^5 JrL-s u^.btc-      t.'   Prstect m.ytbve-procsss-wi'.dit +La n-o'r* rrrro5.
            s*^Q{ rpe..-T
        ^



   iI if \ol .,,"r*-'!-"^.os-.J         &.pr-., ..}*.. ^^t*lr, ^.od..l4o b*stsorn,,-f^*
 J^ \3       rnval fi .o{,"^ "XDef,

 %\i.v qJ ,*s A.FDcrrx-o-i



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                                                                                             = war\o\, h'.*r-t


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                                                                ll *\e- J,i
aarai^st hre+            5o>"c, 6qrd,




oclrz ?rao,          f,0oPFoti.v n^d CoLof feJar^l n",                    [ti^,   on,     clr^."^      +,.o
              CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 14 of 27




  ,   *hr,l.icr"f^o", f .oa"r, ,,re-. ,.,^.ixn-., -t.:tf-rrn,slL'co( o.4.+ti^ t^{ ..65.^




                                                                  ,   lv *.,"k   nr J f ^



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                                                                  .l h" l.[ o.r**o.1f y , f r..   w rf   \ 1t-
 c"\o.    o   f €uL.\ low a,..\ ^rlro. * r... Dn LL^i .o                                    tve 6ard<,

                                                                                       }.Ff Fo. *xo
 9"vFDlq
   -     l,vl.,lll"Slowo{(}o.,yo,4,,-r} vo6 forru;lb }\L cu^rpi.a.y c^^ t=




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Verczj    "fgA* I A.

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                                             f   cAnroir,',
of pl"t"+tNq


W^0,7h^).6prcssA^yu^L,L(^witxArh\,l[yY.u,^,D*fc,J^n!
                    l13r
                    CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 15 of 27




.On 6rc2-fu2ar                   on*u.{.onl       ?.gg aaa*        *l^   lo\[, o^ 1t-,- Sl.p^-l Po.,n"o,           Pres

      c.^   +Le llor
                                                                                                   Jr           -n Lv*e
                                              -Tl"i5
                                                          w^srrff e.*rJ                             fi^
            ^nlit'                                ee\at

                                              ss{bv    z
    J- \ntc-                                      r                  at Won\4                             \c-   *,'r'.cit
    oo[- r'*   ],
l-      ou\                                                                                  Pat

                          ) .f ro n,   f   ici^   Y+rcZ                                      ;\
SY    1.r." o:J foJur6^.6,^.           Ifl    is Asl^t"f syko.or ofil.i^l &lr!             #o   n^^r- sun *^o*

                     oF ftd,trol       lolio,'s....T      * is w             ^ro..   il   b.f,Lr^.-*r...t   ll.-
w^l v^$k^.e |fqt_[c,lic,i^ parez h.J slo/fat ,0,.;,                              o.^.^+-+..u^,     ,-.ArfrL

                      l^o wcrl   i                                       af*,, a t ccrlo(^',



     tr'    cowrv wo co,rti C'^cI lrl,,.r-a^o[             v^ilrr sznl hrvy,to".,         o4].ar re.nn^lcr
^
                                                  I 11 |
                   CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 16 of 27

                    \   lav )vboro

      .   On, Oq-3cr-aoAo AshE 5YE"rq t^rrola nae-lwo i,''c"'lt'+. rePo..ir, Firs|, ^
      1-o1-Geriorybot,lri*,rn ks<a,ll)
                                       ^nJ
                                           aoT e>.^e.,,- A                   * is br     <YWr,^7       af{:r',,J bu+l
      *o h'o Far,^'.[1.^s*w itu. fBoP vie\"*t!o^r ^r r#.1                    c^\o';e   a y'o1 t ^H;,, J<, a
      1S* cleScee Ass,.-l*or A#.npi,t /hrrJ+""                              vsu^lly -€,r.*,"ib tnzurp-ll.*r.    yi.f;nl
     -_.-...-..-.--.-                                                  lf

                                                                            lel   S D"Ti,r.r.




 . alnolt,            "^-bo .\..rorelr wrtl is a ?o | f,ijrhfiy....T^ *hir c^t
                   In,n,..fq
      nS a'v?S|..Jce
                     ^|,s'- h"I\.w:fnv lor wet a^ nte^fo*il^t.- c_!*tf;t:scf -*.-.
 .   tor.lol,Ltc.        ar.'a,'".cf rr^e for r,^^Fi^glh.a- VCIA look bo.d,-, rlAr.z.rloz tr,<,ur-

     WaSditJylti^.d Pnr             hi      Sig\.t:^v    L cr_ at fe.^xt" ar il      l-,^y   l.,^kc   [-ee^   (e-shruq3

                        As   f.lav s y h,       s   I!,IgA;l*teyi
                                            ^
- e\rrt !y Et .-             .o   l,'?\[-ryr^ i I za c\r^,1/\r,"n-"..,""g1t dr.rl+ r^,#,. i*r ,n


                                                                                  trt ^of h ,h .- . S Ae '.{so Ai



 "S
      he    c,'lJ*L"r. c,,lLeJ {?nc^lo, m^rt a, .l +rlJ her of /\cr4^ut^fq_b_i,}
 -Y.vn !L^* ^j^;7 ^,..wt * L- va A Lol-bnJ                                   ^ryd.:,
                                                                                       iltr:Lt-y R^J p"?.#*,
     *l-rr,^   A
                   / .!.\iJ yp,rtj,sl\ ?:y lv on,r- Del,\nrJul
               CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 17 of 27

       Wal vnf r'r"c!/ becaule t5c                       Voo q^4       \rh\./    ryL".,r.^. .^J g,,-+t,E           wh\i!


       7   r,,rt.lqlJo   {,riftorl ,,e Cd. <\cala-, +hfJ t.,l\6lo- r,^ci&^+ nrFol+ i(                                 .




       lcx|ted.   oPl f\e- ^tsVmptio^+\nf                    z recie,-r! o co(, o^l rir^rl

   S(eLi(;c,.l\/ (crgct 3.7r?4 rltv,e ttoa-RBc e,\.ve,r'.." We-ll ir,, e "Larls,-                                     _


   Athlal {o         }-t^rr^e- r,or.rln   }hfr l'..r,,(,^* rcp,''f (J..- Lq{*o   hayn gro^o a,.,1 rlaw{y




   ie l.Ly" Qerez- L(e^                                                    i.le\v    c.^   ll,;.q   Br^e^J



                                                        € !c.r ?u   l'{xc+T Aevtr               *|" Sf^r, , -
   AcL^.,r,teJr./A              tr"* nr^,r}.r^.v*}il I l.F+ ^t -l sl..|cJ u_e.fo.e ?aJ(ygtJ
  {d         ocL   o,                                                            tp"       {u.lor,l    14: h   I

-7--
           )brn 0{At




                  oo Feler^l         ,       Its   S"




   *^u l,i"^
               CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 18 of 27


       €l,F C.r/raillo..Jr4h.,<             *r$   ke. a.cli.^r, cr^ x-         vr'o*re,L   *I v',,lqr *ho, colo. o€ Jy'^4e
                                      ^\\
     ,l*w.r,   ^,r.,lxor;+),
                               *te- voA                     ^^d l\.rj \er Pt,rilio".'
                                             '..\E,' rs". fe.lcrr.lG^*ro.*,,,

      wgll.tr givc \cf +A a./+Lr,'? ia.r c*r lo. of ;' ./^der f€dgc..-\ L^w ei+bsr

     l.r.^)A (ke VttLttc} n,), Co^s1,1-Ji",^"^l -,?X+, r ...0-r to*A .".e(txo".
 . 5\gcs^sf,itrl +4 t?L{rlLh.rr Laow^a^rt l'                         t<'.,)w.,*c vr.\,^}+n-IPlhAn^ee{lnst:l'.

 . anJ    po't.Jtltlgef ,*e d.Jc',.,lfc.l Lvlwl..h a b€'.l, I lke;. hil-A,^^4):9/y.rfc -
     rt- ur, lzul nol hin€o.r       avrYtglJ/         -$tv cans(irt J w{*s c.f,.R.dJt"P"rcz-r7ar.;^,

     la.-L,.^"^   *o   Vrtl    Jc   n,y 5*h        4n^c-.clr..r.{   pruceJ.r.l Jv{-proccrtfr iu}rby_vnLr*Jy

 fea-U;aqJ:*qfX$..qJ ,l t                     ,ieg    ,e nLL4, I t- + Bap p..lAu ^I \n o" ,1b n                    n ^A..{,.^k


  €v,)u^.u, *u .,o *^tr..r,.*i.^-'J                         t,{.*lr..,^r,iro^r*             f
 --r-_-                                                                                            b%Jh---!gde..l
     pJ-V^ovl4rn*-^ffarn, <l* rl lrlt r*.l,trS^on) *" ,.ll"rsr wffl,,r.,e.i/'.g{
                                                                                 a-
     t *n f 6ae,

 E. Du'fr^)t,+                 N Cr[ , Woh\r ".*, Re^, i\\e C.?\r.,..*yT..r ,.d4^,..d*.",$,.".
 0 n Il-)?-0Qlo 7,^,r.i1. g.i"r"^..-*,, p"A..",nt                              6oodf,,..
                         ^                                                ^/                 l^o
                                                                                                   --J- b".L^,. ,^+.r.y,g
 *A,la ,.h,"i +L?rDH% l(" arJ" tx^t
.___                                                    2".                                                                     .1

 kl    rro-l (/Ep^a    brl ->frltoral his qAui.-^J w ru*.nr*-rur                           g.f    .u^,...., .} h+l.e ,-cair,,

 {5ou'l nnYQgl t,'qtr r.nil *R?- u..f,,'.at/ l2rscrpii^,^? proce-$ d.lte q,L",)                                     +\(
\Lco.) ^ltrv) r',c no|^ic^.i\i" DH0l7 ne,                                 /aqf"yr,l        r,,4   t, reptv h ft^.t


.*   )gvsi}}'lj        w.i) o[ \"!.-u"l; sr{,.,,+}Lo trIosf.n,\, + h4"l                       .,vrd.., \0J*oL!-,r^,"_

*kc I      nvalc0n wrn,.*t-l-" d^nI a,".velopL               lpo..lc€,I   ]-vll ].^c.ly hol,l rhg q.€]er            Seot   ,h#
                                                   IITI
               CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 19 of 27

       l\e- CLcck- Personc^l\f-r.r f5e envclE.Pn yscl,f *hc /rn.reinf bonc\y F('l/,




      {o.l( ,^^LcLrLL r t,}L co.,r*r lr+. Jlnfrr                              \Lo}fo^ro brf f,or qrnrpt. df
                                                                        ?^y
                                                 ",f
    . wsaK., lL lc"p+ l,.rr9 +.-\o\ +.\..y tl,1l t^d tq+ n'q<ro-,rel^c..f{ efn h,^b€*J
                                                                              -}/


      tr\rrc- n"v n..rtio"^. c-*vlil posslb\y A,2j-
    '-_t_                                                     i',rt, 7        1.".&
                                                                                      Fee.rio,sV -Acfer6^k\
               o-r<
     'tk^l IEJ'         Docs no*       J{e."        cey',f;oJz r^. -,1 o,-.
                                                                                      ^,   o+Ln. -w-e.y--tg-
t    ?r.'srrei +a i^l::ttl.*l=n-..^l             t rg^.f^.r   ',.+r
                                       rt^,\:.                        A.lf.
    Slnlxpl.,,We\\ Nal relp"^<Net w itx o. C".^.fl.+, r,,r, :r
                                                               ^^^ ,,...r{";^
    *J *orhon D"-f.^d^*f N..\ ,,f+o,io.l , y ,rr"..+ u{ \^b"^, ag=.F.,{_u.A +bo.,
    ,PeIl 'i] w."r wit\:^ f-it lef,.,\             a.z]\o*1.+y   f.. opr,^ n^,.21-seql .,l'^r^il +-+xr
     eou   rl T
      abo'.zl {ef i".}i,., a ehcct"- i:.- l;e,Tplo... I*KL rr\^c.t i. +l^.*-                                  -
--7-
     On-C.\ope nn{ro-pa\br} u{
                               ^y- arc-r"r..J S\r**r r\o                              o+\"r 6.ctl.,i\

    h,^ b6lt

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           l.,t- SJ. D,5Y ri'   Covrt on l"-3o-?ua-o                    Nrr




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                  CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 20 of 27


      tqter boltt} refr.le^l-hi--'7'.a- c.,,.+ qll"wuJt K,",n, \. t"J. ldYl
     t. rr>Fo^.i
     t,          f-      9-g uSC DZY l, i ^ lr A"ys 7 trecre*r*'I
                    "^),                                             ^ eo+CA




ahe^,             .1,^      lu'[c    Jaauc r   :r   cecie*<,\ n^y   le*i.^\ f.orn
                                                                                    ^




                            i.-,^\\v cr"lt.l nr,c.. lr.




PV,.c) r",,c^^fs u.rnsNt\y hovleJi^                                 t el{- wI^J Cor'ro-tq tq, os,-trr.
                                    thnf
          s
                                    Vo                                     *e            J {nt" /n.}f,i,.
                                                                             o.Jtr' (.0 *   tvfc

              o   C'o   -   fyi'.
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    ",   A,s.o                      it- w",\J .uu*-      uJ st.d t itc.j -lr- b*..J *x<--1.,-fr,
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              CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 21 of 27

       c\,^   J. LrSe-t In;r qr,,+h"eily- (\ :f^-\l-.^cl,/"rrn,tltolo- o{ €envillo (*'4}

   ,7^i[      0,.   Sf.nfa   -.-]h*,4y ..r to.,-'e,,.S-,c",*-eJ^-*.',r^i+y- *o-cl o w hr.]u-W-
      ks   ,o(eoJa3 l^e. rrb.rSes hiS .',w^ g rreva^r.e t Y S#eon,                         ia^d l,f e".o l\L-elvstzr
  -lAo,r{-gt'*}oiJ nrsi\-f-.h<-. iS                         <rsPrc.io:*.t o /."/r   t.^fc^f.r, a^o( o^y      ,,.FFrol



  .   o4P,L" iq\"\t*".sor,-, NeAGwohlr                                    i* :t ir AA^,r*t .**" ,**\g-
                                                                     ^^
      Iten.ilLuGvn*' J-',\ on^cx of lr^o Lc,..rilt. eo,^\ (hc./ipf, aff<, o.^rl l{\                              a. r\d/,{),

  . Ct*o! f,-o^J-t--. yt4, .,...,*." t rf .J*.i.Q-r.ouf,i* .r, .\-)to€                             e6..-Q,-.4ss--a 8gc-

  *4^d k$*e. f            .J*r..rJ .-Coo+r^tl        "   )ggr
                                                                                           .r_*A<.oqal^J A
      rn"""lcs Svrk ol rw/Je lt                          NlaA Wbhtq",.n,    hr.t Vicrl.ts.[ .rro.lsf..a*,""1,'*t




  \lu      Arxe.^



        eA     - L,tvs'W a- hc./              o"r   k ] +t
                                                           ",t
 p_ld11l"r\          *{...^t nl                                                              k
               f8of      a,..o\ q   lt""re\                                            oVrrwr.Ll   tt * t-
*uttf\ll-glot-*=fi,ri*ry{*usp*-,*Hd9-!y-r}l..^                                      d,-{{z'll_f_r,u_g*c,*fu-_-

''-Del'ktJ31y*h**{'i*;=l'Jcel;-*g--Ae.-urrr-r^clt                          w   d}.r$u.-ci-rf,:-e:-J--tp.--.-
                                              lr* Lr '.a.lr {r
           CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 22 of 27

      cl.a.&   tl^,ni w.r *\            ?{f tr',.^. his '.."^o h..J f wr" }e.^ ,..t .r4eilu....\
 , Cou.+ Y-or,,,rr^o,^f co hL <ovgr,+orrl                 advita    fr./,^ \tfl''.!faJt" 'I \ I               wo-J

   d"".r- w i,t,. c\o \,\.'o, ^+e rl cliFCqrr*.., tl-- 4t*-- i^Fn ct   lJ h/orld hav*,
  on ty         ov-)cpn^e_s:[''         f'..y cc^Jr ^^A*r,c h^eAtL.'" fl--o.tdcarl..




 -4,'*q-a+-.JAa--s. tAr*,tk*€Lq, .-J;PG -\
                    g                                   *s   c.rl LcJ   r:.   qI
                                                                                   ^
 lt     8..^a^




                 iw      C(P-            J-+'l



                                                                                            ;" t-t JLr d.c\,SzrJ
    lgn.cr+\cr\\ r,l r.y g\ast., Rrer0^-nruc-r                ir rn^pfryrl b. +r- ./Q.l                    / &..",.
  oF ,orn'r,r^s   c^il   oFf,-.   l-l
   J: +        it ryv Lel;&+ .lxnl ;+

                      o.rf AgilBrr^ lo ,frrrt           wo   vll b" q, lfv              o


- Jtdc:rr eLMxfr^fu MreM.                                        :rlknru)tudri\La^d l+

 ly$iq,*r-l:l:!-yy,l15                           nr1 only {uet^t b,'t i*s              Aeyo,.t *.. opcr
                          CASE 0:21-cv-00716-WMW-DTS Doc. 1 Filed 03/16/21 Page 23 of 27

                  i/s .l L.e on\y arft*^*:Iio^-pJ^,r*iFf c^'r cor*c-'ViP w.{h h.w


             '"   i,^ ( cl^vt             e>Pe<,.         ltl   cl^cc- Pl-,^-li€'f                 {(eJ q^atr.*- 38vlca:tt.
     -       crn }._.!9-).o?.-\              a^\ aJv.!f                Cecic.reA no{''cc         t"dqy 4L,..{ ag,esr cl^.nd bt,,"crf,r.14
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Please label the attached sheets of paper to as Additional Facts and continue to letter the'
paragraphs consecutively.


V. REQUEST FOR RELIEF

State briefly exactly what you want the Court tb do for you. Do not make any legal arguments -
or cite any cases or statutei.       Pv '. ili,e Onr'..etj "*fl19ooo nl tsTy 'J'e'oc74 f'^Or f f1
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I (We) hereby certiff under penalty of irerjury that the above complaint   is true to the best of   my        i
(our) information, knowledge, and belief.                                                                     I




Signed   this l l X      day   of lrl aro \     , 20 91


               S   ignature(s) of Plaintif(s)

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Note: All plaintiffs named in the caption of the complaint must date and sign the complaint and
provide hisftrer mailing address and telephone number. Attach additional sheets of paper as
necessary.




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